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9                           UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                  Western Division
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13      SECURITIES AND EXCHANGE                Case No. 8:20-cv-00793-ODW(DFM)
14      COMMISSION,

15                  Plaintiff,                 JUDGMENT AS TO DEFENDANT
                                               PATRICK O’HARA
16            vs.
17      DROPIL INC., JEREMY MCALPINE,
18      ZACHARY MATAR, AND PATRICK
        O’HARA
19
                    Defendants.
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1           The Securities and Exchange Commission having filed a Complaint and
2     Defendant Patrick O’Hara having entered a general appearance; consented to the
3     Court’s jurisdiction over Defendant and the subject matter of this action; consented to
4     entry of this Judgment without admitting or denying the allegations of the Complaint
5     (except as to jurisdiction and except as otherwise provided herein); waived findings
6     of fact and conclusions of law; and waived any right to appeal from this Judgment:
7                                                  I.
8           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
9     permanently restrained and enjoined from violating, directly or indirectly, Section
10    10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. §
11    78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using
12    any means or instrumentality of interstate commerce, or of the mails, or of any
13    facility of any national securities exchange, in connection with the purchase or sale of
14    any security:
15                    (a)   to employ any device, scheme, or artifice to defraud;
16                    (b)   to make any untrue statement of a material fact or to omit to state
17    a material fact necessary in order to make the statements made, in the light of the
18    circumstances under which they were made, not misleading; or
19                    (c)   to engage in any act, practice, or course of business which
20    operates or would operate as a fraud or deceit upon any person.
21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
22    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
23    binds the following who receive actual notice of this Judgment by personal service or
24    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
25    (b) other persons in active concert or participation with Defendant or with anyone
26    described in (a).
27                                                 II.
28          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

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1     Defendant is permanently restrained and enjoined from violating Section 17(a) of the
2     Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale
3     of any security by the use of any means or instruments of transportation or
4     communication in interstate commerce or by use of the mails, directly or indirectly:
5                  (a)    to employ any device, scheme, or artifice to defraud;
6                  (b)    to obtain money or property by means of any untrue statement of a
7     material fact or any omission of a material fact necessary in order to make the
8     statements made, in light of the circumstances under which they were made, not
9     misleading; or
10                 (c)    to engage in any transaction, practice, or course of business which
11    operates or would operate as a fraud or deceit upon the purchaser.
12          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
13    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
14    binds the following who receive actual notice of this Judgment by personal service or
15    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
16    (b) other persons in active concert or participation with Defendant or with anyone
17    described in (a).
18                                               III.
19          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
20    Defendant is permanently restrained and enjoined from violating Section 5 of the
21    Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any
22    applicable exemption:
23                 (a)    Unless a registration statement is in effect as to a security, making
24    use of any means or instruments of transportation or communication in interstate
25    commerce or of the mails to sell such security through the use or medium of any
26    prospectus or otherwise;
27                 (b)    Unless a registration statement is in effect as to a security,
28    carrying or causing to be carried through the mails or in interstate commerce, by any

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1     means or instruments of transportation, any such security for the purpose of sale or
2     for delivery after sale; or
3                  (c)    Making use of any means or instruments of transportation or
4     communication in interstate commerce or of the mails to offer to sell or offer to buy
5     through the use or medium of any prospectus or otherwise any security, unless a
6     registration statement has been filed with the Commission as to such security, or
7     while the registration statement is the subject of a refusal order or stop order or (prior
8     to the effective date of the registration statement) any public proceeding or
9     examination under Section 8 of the Securities Act [15 U.S.C. § 77h].
10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
11    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
12    binds the following who receive actual notice of this Judgment by personal service or
13    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
14    (b) other persons in active concert or participation with Defendant or with anyone
15    described in (a).
16                                                IV.
17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that pursuant to
18    Section 21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(5)], Defendant is
19    permanently restrained and enjoined from directly or indirectly participating in the
20    offer, purchase, or sale of digital securities.
21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
22    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
23    binds the following who receive actual notice of this Judgment by personal service or
24    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
25    (b) other persons in active concert or participation with Defendant or with anyone
26    described in (a).
27                                                 V.
28          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

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1     Defendant shall pay disgorgement of ill-gotten gains, prejudgment interest thereon,
2     and a civil penalty pursuant to Section 20(d) of the Securities Act [15 U.S.C. §
3     77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]. The Court
4     shall determine the amounts of the disgorgement and civil penalty upon motion of the
5     Commission. Prejudgment interest shall be calculated from January 31, 2018, based
6     on the rate of interest used by the Internal Revenue Service for the underpayment of
7     federal income tax as set forth in 26 U.S.C. § 6621(a)(2). In connection with the
8     Commission’s motion for disgorgement and/or civil penalties, and at any hearing held
9     on such a motion: (a) Defendant will be precluded from arguing that he did not
10    violate the federal securities laws as alleged in the Complaint; (b) Defendant may not
11    challenge the validity of the Consent or this Judgment; (c) solely for the purposes of
12    such motion, the allegations of the Complaint shall be accepted as and deemed true
13    by the Court; and (d) the Court may determine the issues raised in the motion on the
14    basis of affidavits, declarations, excerpts of sworn deposition or investigative
15    testimony, and documentary evidence, without regard to the standards for summary
16    judgment contained in Rule 56(c) of the Federal Rules of Civil Procedure. In
17    connection with the Commission’s motion for disgorgement and/or civil penalties,
18    the parties may take discovery, including discovery from appropriate non-parties.
19                                              VI.
20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the
21    Consent is incorporated herein with the same force and effect as if fully set forth
22    herein, and that Defendant shall comply with all of the undertakings and agreements
23    set forth therein.
24                                              VII.
25           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for
26    purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,
27    11 U.S.C. §523, the allegations in the complaint are true and admitted by Defendant,
28    and further, any debt for disgorgement, prejudgment interest, civil penalty or other

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1     amounts due by Defendant under this Judgment or any other judgment, order, consent
2     order, decree or settlement agreement entered in connection with this proceeding, is a
3     debt for the violation by Defendant of the federal securities laws or any regulation or
4     order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy
5     Code, 11 U.S.C. §523(a)(19).
6                                               VIII.
7           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
8     shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
9     Judgment.
10                                               IX.
11          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
12    Rules of Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and
13    without further notice.
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15      Dated: June 30, 2020
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17                                                      UNITED STATES DISTRICT JUDGE
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